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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO

EASTERN DIVISION
UNITED STATES OF AMERICA, } INDICTMENT
}
Plaintiff, ) mR 8 3 nn 0
Vv. ) CASENO.
) Title 18, United States Code,
) Sections 922(¢\(1) and 924(a)(8);
DARDISI LASHON ALEXANDER, J Title 21, United States Code,
) Sections 841(b)(1)(B) and
Defendant. ) (b)1)(C)
COUNT 1 dU GE OLIVER
(Felon in Possession of Firearms and Ammunition, 18 U.S.C. §§ g)\(i) and 924(a\(8
The Grand Jury charges:

1. On or about January 22, 2025, in the Northern District of Ohio, Eastern
Division, Defendant DARDISI LASHON ALEXANDER, knowing he had previously been
convicted of a crime punishable by imprisonment for a term exceeding one year, that being:
Conspiracy to Possess with Intent to Distribute and Distribution of Cocaine, on or about May 26,
2015, in Case Number 5:14CR301 in the Northern District of Ohio, Eastern Division, United
States District Court, knowingly possessed in and affecting interstate commerce the following
firearms:

a. Mossberg 410 shotgun, serial number #K851747.

b, Stevens Model 320 20ga shotgun, serial number #2142967.

c. Hatsan Arms Company 12-gauge shotgun, serial number #918494.
d. Century Arms RAS47 7.62x39 rifle, serial number #RAS47071363.

é. FSAAP Model FP-15 rifle, serial number #LCP00228.
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f. Rohm 38 Special revolver bearing serial number #27642.

g. Taurus G3X handgun, serial number #ADH571791.

h. Taurus G3X handgun, serial number #ABG705558.

i. Rohm GMBH 38 Special handgun, serial number #HF115242,

j. Ruger SR 1911 handgun, serial number #671-19848.

k. Century Arms Canik TP9SA, serial number #T6472-16AP09664.

L. Kahr CW45 handgun, serial number #8E5196.

m. Smith and Wesson 38 Special revolver, serial number #C745256.
and ammunition, said firearms and ammunition having been shipped and transported in interstate
commerce, in violation of Title 18, United States Code, Sections 922(g)(1) and 924(a)(8).

COUNT 2
(Possession with Intent to Distribute Methamphetamine,
21 U.S.C. §§ 841 (a)C1) and (b)C1)(C)
The Grand Jury further charges:

2, On or about January 23, 2025, in the Northern District of Ohio, Eastern Division,
Defendant DARDISI LASHON ALEXANDER did knowingly and intentionally possess with the
intent to distribute a mixture and substance containing detectable amounts of methamphetamine,
a Schedule II controlled substance, in violation of Title 21, United States Code, Sections
841(a)(1) and (b)(1)(C).

COUNT 3
(Possession with Intent to Distribute Cocaine, 21 U.S.C. §§ 841(a)(1) and (b)(1)(B)

The Grand Jury further charges:
3, From on or about January 22, 2025 to on or about January 23, 2025, in the
Northern District of Ohio, Eastern Division, Defendant DARDISI LASHON ALEXANDER did

knowingly and intentionally possess with the intent to distribute 500 grams or more of a mixture
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and substance containing a detectable amount of cocaine, a Schedule II controlled substance, in
violation of Title 21, United States Code, Sections 841(a)(1) and (b)(1)(B).

FORFEITURE

The Grand Jury further charges:

4. For the purpose of alleging forfeiture pursuant to Title 21, United States Code,
Section 853; Title 18, United States Code, Section 924(d)(1); and Title 28, United States Code,
Section 2461(c), the allegations of Counts 1 through 3 are incorporated herein by reference. As a
result of the foregoing offenses, Defendant DARDISI LASHON ALEXANDER shall forfeit to
the United States any and all property constituting or derived from any proceeds he obtained
directly or indirectly as a result of the federal drug violations in Counts 2, and 3; any and all of
his property used or intended to be used in any manner or part to commit or to facilitate the
commission of the federal drug violations in Counts 2, and 3; and any and all firearms and
ammunition involved in or used in the commission of the federal firearms violation in Count 1;
including, but not limited to, the following:

a, Mossberg 410 shotgun, serial number #4851747.

b. Stevens Model 320 20ga shotgun, serial number #214296T,

c. Hatsan Arms Company 12-gauge shotgun, serial number #918494,
d. Century Arms RAS47 7.62x39 rifle, serial number #RAS47071363.
e&. FSAAP Model FP-15 rifle, serial number #LCP00228.

f Rohm 38 Special revolver bearing serial number #27642.

g. Taurus G3X handgun, serial number #ADH571791.

h. Taurus G3X handgun, serial number #A4BG705558.

i. Rohm GMBH 38 Special handgun, serial number #HF 115242.
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j. Ruger SR 1911 handgun, serial number #671-19848.
k, Century Arms Canik TP9SA, serial number #T6472-16AP09664.,

1. Kahr CW45 handgun, serial number #SE5196.

m. Smith and Wesson 38 Special revolver, serial number #C745256.,

A TRUE BILL.

Original document - Signatures on file with the Clerk of Courts, pursuant to the E-Government

Act of 2002.
